   Case 1:04-cv-00397-GBD-RLE            Document 526    Filed 06/11/14     Page 1 of 30
                                                        REDACTED - PUBLICLY FILED VERSION



UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


MARK I. SOKOLOW, et al.,

                           Plaintiffs,
                                                 No. 04 Civ. 00397 (GBD) (RLE)
       vs.

THE PALESTINE LIBERATION
ORGANIZATION, et al.,

                           Defendants.




                MEMORANDUM OF LAW IN SUPPORT OF MOTION TO
        OVERRULE DEFENDANTS’ AUTHENTICITY AND HEARSAY OBJECTIONS
         TO 177 PROPOSED TRIAL EXHIBITS THAT DEFENDANTS PRODUCED




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April 9, 2014
       Case 1:04-cv-00397-GBD-RLE                          Document 526                Filed 06/11/14              Page 2 of 30
                                                                                    REDACTED - PUBLICLY FILED VERSION




                                                  TABLE OF CONTENTS

                                                                                                                                       Page

TABLE OF AUTHORITIES .......................................................................................................... ii

I.        DESCRIPTION OF THE PROPOSED EXHIBITS ........................................................... 2

          A.         Employment Records.............................................................................................. 3

          B.         “Ministry of Detainees” Files Reflecting                                                                       ........ 5

          C.         “Martyr” Files Reflecting                                                        ....................................... 6

          D.         GIS Documents....................................................................................................... 8

          E.         “Ministry of Finance” Account Statements .......................................................... 10

II.       THE PROPOSED TRIAL EXHIBITS ARE AUTHENTIC ............................................ 10

III.      THE PROPOSED TRIAL EXHIBITS ARE NOT HEARSAY ....................................... 12

          A.         The Exhibits Are Statements Of An Opposing Party Under Rule 801(d)(2) ....... 12

                     1.        Subpart (A): The Exhibits Are Statements Made By Defendants
                               In A Representative Capacity ................................................................... 13
                     2.        Subpart (B): Defendants Adopted/Manifested Their Belief That
                               The Information Contained In The Exhibits Is True ................................ 14
                     3.        Subpart (C): The Exhibits Are Statements Made By Persons
                               Authorized To Make A Statement On The Subject .................................. 16
                     4.        Subpart (D): The Exhibits Contain Statements Made By The
                               Party’s Agent Or Employee On A Matter Within the Scope Of
                               That Relationship And While it Existed ................................................... 17
          B.         Alternatively, the Exhibits Constitute Business Records And/Or
                     Public Records ...................................................................................................... 19

          C.         Alternatively, the Exhibits Qualify Under The Residual Hearsay Exception ...... 21

          D.         Defendants’ Contention That Portions Of Some Of The Documents Were
                     Produced By Third Parties Is Unavailing ............................................................. 23

IV.       IN THE ALTERNATIVE, THIS COURT SHOULD ESTABLISH A PROCEDURE
          TO DETERMINE THE ADMISSIBILITY OF THE EXHIBITS BEFORE TRIAL....... 24

CONCLUSION............................................................................................................................. 24




                                                                     i
    Case 1:04-cv-00397-GBD-RLE                       Document 526              Filed 06/11/14            Page 3 of 30
                                                                            REDACTED - PUBLICLY FILED VERSION




                                           TABLE OF AUTHORITIES

                                                                                                                     Page(s)
CASES

Anand v. BP W. Coast Prods. LLC,
   484 F. Supp. 2d 1086 (C.D. Cal. 2007) ...................................................................................13

Architectural Iron Workers Local No. 63 Welfare Fund v. United Contractors,
   46 F. Supp. 2d 769 (N.D. Ill. 1999) ...................................................................................11, 14

Bieda v. JCPenney Commc’ns, Inc.,
   1995 WL 437689 (S.D.N.Y. July 25, 1995) ............................................................................11

Comm. Data Servers, Inc. v. Int’l Bus. Machs. Corp.,
  262 F. Supp. 2d 50 (S.D.N.Y. 2003)........................................................................................11

Corral v. Chicago Faucet Co.,
   2000 WL 628981 (N.D. Ill. Mar. 9, 2000).........................................................................18, 20

Davis v. City of New York,
   959 F. Supp. 2d 324,
   further consideration after briefing, 959 F. Supp. 2d 427 (S.D.N.Y. 2013) ...........................21

Equal Employment Opportunity Comm’n v. W. Customer Mgmt. Grp., LLC,
   899 F. Supp. 2d 1241 (N.D. Fla. 2012)....................................................................................18

Fed. Trade Comm’n. v. Hughes,
   710 F. Supp. 1520 (N.D. Tex. 1989) .......................................................................................15

Fed. Trade Comm’n v. Med. Billers Network, Inc.,
   543 F. Supp. 2d 283 (S.D.N.Y. 2008)......................................................................................21

Hannon v. Kiwi Servs.,
   2011 WL 7052795 (N.D. Tex. 2011).................................................................................13, 20

In re Japanese Electronic Prods. Antitrust Litig.,
    723 F.2d 238 (3d Cir. 1983),
    rev’d on other grounds,
    Matushita Elec. Indust. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986) ..............................16

Int’l Bus. Machs. Corp. v. BGC Partners, Inc.,
    2013 WL 1775367 (S.D.N.Y. Apr. 25, 2013)..........................................................................15

John Paul Mitchell Sys. v. Quality King Distribs., Inc.,
   106 F. Supp. 2d 462 (S.D.N.Y. 2000)..........................................................................11, 20, 22




                                                               ii
    Case 1:04-cv-00397-GBD-RLE                          Document 526                Filed 06/11/14            Page 4 of 30
                                                                                REDACTED - PUBLICLY FILED VERSION



JPMorgan Chase Bank, N.A. v. Yuen,
   2013 WL 2473013 (S.D.N.Y. June 3, 2013) ...........................................................................19

Klieman v. Palestinian Authority,
    Civil Action No. 04-1173 (PLF) (JMF) (D.D.C. Feb. 11, 2013), DE No. 190........................24

Murphy v. Metro. Transp. Auth.,
  2009 WL 1044604 (S.D.N.Y. Apr. 14, 2009)..........................................................................21

Nabisco v. Warner-Lambert Co.,
   32 F. Supp. 2d 690 (S.D.N.Y. 1999),
   aff’d sub nom. Nabisco, Inc. v. Warner-Lambert Co., 220 F.3d 43 (2d Cir. 2000).................11

Pappas v. Middle Earth Condo. Ass’n.,
   963 F.2d 534 (2d Cir. 1992)...............................................................................................17, 18

Penguin Books U.S.A., Inc. v. New Christian Church of Full Endeavor, Ltd.,
   262 F. Supp. 2d 251 (S.D.N.Y. 2003)......................................................................................16

Phoenix Assocs. III v. Stone,
   60 F.3d 95 (2d Cir. 1995).........................................................................................................19

Smith v. Pathmark Stores, Inc.,
   485 F. Supp. 2d 235 (E.D.N.Y. 2007) .....................................................................................18

United States Info. Sys., Inc. v. Int’l Brotherhood. of Elec. Workers Local Union No. 3,
   2006 WL 2136249 (S.D.N.Y. Aug. 1, 2006),
   adhered to on recons., 2006 WL 2556339 (S.D.N.Y. Sept. 5, 2006)......................................11

United States v. Hubbell,
   167 F.3d 552 (D.C. Cir. 1999) .................................................................................................14

United States v. Kaiser,
   609 F.3d 556 (2d Cir. 2010).....................................................................................................19

United States v. Marino,
   658 F.2d 1120 (6th Cir. 1981) .................................................................................................16

United States v. Ospina,
   739 F.2d 448 (9th Cir. 1984) .............................................................................................15, 16

United States v. Paulino,
   13 F.3d 20 (1st Cir. 1994)........................................................................................................15

United States v. Strother,
   49 F.3d 869 (2d Cir. 1995).......................................................................................................19




                                                                  iii
    Case 1:04-cv-00397-GBD-RLE                              Document 526                 Filed 06/11/14              Page 5 of 30
                                                                                     REDACTED - PUBLICLY FILED VERSION



Yepez v. 44 Court St. LLC,
   2014 WL 345220 (E.D.N.Y. Jan. 30, 2014) ............................................................................18

OTHER AUTHORITIES

Fed. R. Evid. 801(d)(2)(A)-(D).............................................................................................. passim

Fed. R. Evid. 803(6)...........................................................................................................12, 19, 20

Fed. R. Evid. 803(8).................................................................................................................12, 20

Fed. R. Evid. 807 ...............................................................................................................12, 21, 22

Fed. R. Evid. 104 ...........................................................................................................................24




                                                                      iv
     Case 1:04-cv-00397-GBD-RLE                  Document 526          Filed 06/11/14       Page 6 of 30
                                                                    REDACTED - PUBLICLY FILED VERSION



             This motion concerns 177 of plaintiffs’ trial exhibits—of which defendants produced 174

in discovery. The 177 exhibits appear to have been created by defendants’ own employees in the

ordinary course, and virtually all of them are on defendants’ official forms, most of which even

bear defendants’ letterhead. Defendants have refused to agree that these exhibits are authentic

and have also refused to agree that the documents are not inadmissible as hearsay.

             The exhibits fall into five categories: (1) employment records



                                   ; (2) records reflecting

                           ; (3) “martyr” files reflecting

                                                                       ; (4) documents from the PA’s

General Intelligence Service (“GIS”)

                 ; and (5) documents from the PA’s Ministry of Finance reflecting
         1
             Defendants produced almost all of these documents after fact discovery closed.

             These 177 exhibits are extremely important. They show not only that




                      because they perpetrated the terrorist acts at issue here. These actions

constitute material support for terrorism and terrorist organizations under the Anti-Terrorism Act

(“ATA”) and also show that defendants approved and ratified the terrorists’ actions and are liable

under the doctrine of respondeat superior.

             During the March 4 Conference, the Court instructed plaintiffs to seek stipulations on




1
    All 177 trial exhibits are attached as Exhibit A, divided into these five categories.
      Case 1:04-cv-00397-GBD-RLE                   Document 526    Filed 06/11/14      Page 7 of 30
                                                                  REDACTED - PUBLICLY FILED VERSION



authenticity and foundation for the documents at issue in this motion.2 On March 21, in

accordance with the Court’s instructions, plaintiffs sent defendants a letter asking that they

stipulate that 175 of the exhibits are authentic and not hearsay. Ex. C.3 (Plaintiffs had

previously asked defendants to stipulate to the other two exhibits at issue, but defendants did not

respond. Ex. D.) On March 31, defendants refused to stipulate to the authenticity or non-

hearsay status of any of the exhibits. Ex. E.

           Plaintiffs respectfully ask the Court to rule that these exhibits are authentic and not

excludable hearsay. On their face, the documents appear to have been created in the ordinary

course, and defendants actually produced them. The record leaves no question that the

documents are admissions, business records, public records, or otherwise reliable. In the

alternative, plaintiffs respectfully ask the Court to establish a procedure to resolve these issues

before trial.

I.         DESCRIPTION OF THE PROPOSED EXHIBITS

           During fact discovery, plaintiffs explicitly requested PA/PLO employment records, files

reflecting benefits to incarcerated terrorists and their families, martyr files, and GIS files relating

to the perpetrators in this case.4 Defendants produced documents in response. Plaintiffs also

propounded interrogatories. Exs. G.1, G.2. Defendants’ interrogatory answers incorporated

documents now listed as trial exhibits.5 As noted above, the exhibits at issue fall into five

categories.



2
    See Ex. B at 44-45 (Hearing Tr. (03/04/14), DE 439).
3
 Plaintiffs’ letter referred to 168 defendant-produced exhibits, but covered 174 defendant-produced items
(plus one exhibit that plaintiffs procured), because some exhibits contain multiple documents.
4
    Plaintiffs’ requests are submitted as Ex. F.
5
    See Ex. G.3 to G.5.



                                                        2
    Case 1:04-cv-00397-GBD-RLE             Document 526         Filed 06/11/14      Page 8 of 30
                                                             REDACTED - PUBLICLY FILED VERSION




       A.      Employment Records

       The first category of exhibits consists of documents produced by defendants relating to
                                                                                   6
                                                                                       The

employment records show

       ,

                                                      . A few examples suffice to show the Court

the nature of the documents and how they relate to the case.

       On January 22, 2002, PA Marine Police Officer Sa’id Ramadan opened fire with an M-16

rifle on a crowded street in Jerusalem, murdering two people and wounding over 45 others,

including plaintiffs Shayna Gould and Shmuel Waldman. Ramadan was killed by Israeli law

enforcement personnel during the attack; five

       were tried and convicted for their roles in organizing the attack, including Nasser Aweis,

                                              (Exs. 3, 112), Ahmed Barghouti,

                         (Ex. 36C, 113), and Majed al-Masri,

      (Ex. 36B). The exhibits at issue in this motion show that Nasser Aweis



     (Exs. 91, 112)), that Al-Masri

                 (Exs. 36B, 106, 121)), and that the PA

            (Ex. 123).

       On March 21, 2002, PA police officer Mohammed Hashaika blew himself up on a

crowded street in Jerusalem, killing three people and wounding 81 others, including plaintiffs

Alan and Yehonathon Bauer (who was then seven years old and suffered a severe brain injury).
6
 Exs. 1-4, 7-10; 25; 36B; 36C (02:008961-64 only); 36D; 43-44; 46-49; 55, 58-59; 62; 88-91; 94-95;
103-116; 118-23; 125-28; 891-92; and 895-97.



                                                  3
    Case 1:04-cv-00397-GBD-RLE            Document 526        Filed 06/11/14         Page 9 of 30
                                                            REDACTED - PUBLICLY FILED VERSION



Hashaika did not act alone. Abdel Karim Aweis,                                    (Ex. 2), was

convicted for his role in the planning and execution of the March 21 bombing. See Pls. Ex. 377.7

In his statement before sentencing, Abdel Karim Aweis said: “I am proud of the acts that I have

committed and there is a just reason for my having done them….If I could have murdered more

Jews, I would not hesitate.” Pls. Ex. 376 (P 5: 43). The exhibits at issue in this motion show that

Abdel Karim Aweis

                                                                             Ex. 58.

       On January 29, 2004, PA Police Officer Ali Ja’ara blew himself up on a crowded bus in

Jerusalem, killing eleven (including Scott Goldberg) and wounding 45. The mastermind of the

attack, the suicide bomber, and two others involved in executing the attack were

                               including Abdul Rahman Yousef Abdul Rahman Maqdad,

                                                       See Ex. I, pp. 58-73 (Shrenzel Report); see

also Ex. 111. Maqdad admitted his role in the attack in open court with his lawyer present. Pls.

Ex. 295. In his sentencing statement to the court, Maqdad said: “I admitted to all of the

individuals whom I killed in Israel, but I am not guilty, because that is my right: a response to

the tens of thousands whom you have killed for no reason, only because you think that you are

the best in the world and if you continue this method in your lives, you shall not hear or feel

peace or security….” Id. (P 2: 315). Exhibits at issue in this motion show that

                                                                   (Ex. 116), that

                                                            (Ex. 119), and that

                                       (Ex. 47).


7
 English translations of plaintiffs’ proposed trial exhibits—which are not exhibits at issue in this
motion, but are discussed herein (referred to as Pls. Exs. 295, 321, 324, 376-77, 426, and 464)—
are attached as Ex. H.



                                                   4
    Case 1:04-cv-00397-GBD-RLE            Document 526         Filed 06/11/14      Page 10 of 30
                                                              REDACTED - PUBLICLY FILED VERSION



       Thus, the employment records show that defendants



                        . Defendants have argued to the Court that such employment records must

be kept confidential.

       B.      “Ministry of Detainees” Files Reflecting

       The second category of exhibits at issue consists of documents produced by the PA’s

“Ministry of Detainees” (bearing its letterhead) reflecting

                                                      .8

        “Detainees’ and Released Detainees’ Law,” under which the PA treats convicted

terrorists as civil servants, paying them salaries and other benefits. Ex. J (Eviatar Report, Part

Five). (These payments constitute approximately 2.5% of the PA’s budget for salaries. Ex. K, p.

2.) A few examples suffice to show the Court the nature of the documents and how they relate to

the case.

       On July 31, 2002, Hamas operatives detonated a massive bomb at lunchtime in the Frank

Sinatra Cafeteria on the campus of the Hebrew University in Jerusalem. The explosion killed

nine people, including Benjamin Blutstein, Diane Carter, Janis Coulter and David Gritz, and

injured 81 others. See Pls. Ex. 464 (P 7: 11). Hamas operative Abdullah Ghaleb al-Jamal

Barghouti (a/k/a “the Engineer”) manufactured the bomb and delivered it to Hamas

coconspirators. Hamas was, and is, a designated terrorist organization. Following a killing spree

in which Abdullah Barghouti’s bombs killed sixty-six people, he was apprehended, tried,

convicted, and sentenced to sixty-six life sentences. Pls. Ex. 426 (P 7: 114). Exhibits at issue in

this motion show that the PA
8
 Exs. 18; 26; 36C (02:008965-66 only); 36E; 37-42; 50-54; 61; 63-67; 69-73; 75-76; 83-87; 96; 117; and
893-94.



                                                  5
    Case 1:04-cv-00397-GBD-RLE            Document 526        Filed 06/11/14      Page 11 of 30
                                                            REDACTED - PUBLICLY FILED VERSION



                                                                              . Exs. 73, 893.

       On January 27, 2002, Fatah activist Wafa Idris blew herself up on a crowded street in

Jerusalem, killing one and injuring 150, including members of the Sokolow family. Idris was the

first female Palestinian suicide bomber and became a national hero among Palestinians. See Ex.

L, pp. 39-45 (Marcus Report). Idris did not act alone. Among others, evidence implicated an

informant for PA Military Intelligence named Munzar Noor, who was convicted of murder for

his role in the bombing and is serving a life sentence. Pls. Exs. 321, 324. Exhibits at issue in

this motion state that Noor was imprisoned                                            and show that



                           Exs. 18, 26.

       The Ministry of Detainees files at issue in this motion also show that

                                                                                                 Exs.

75 (Mohamed Mousleh), 96 (Majid Al-Masri).

       Thus, in short, the Ministry of Detainees files show that defendants

                            precisely because they carried out acts of terror against innocent

civilians. Defendants have argued to the Court that such “Ministry of Detainees” records must

be kept confidential.

       C.      “Martyr” Files Reflecting

       The third category of exhibits at issue consists of documents called “Martyr Files.”9 The

PA provides the families of suicide terrorists and others who died “resisting” Israel (“martyrs”)




9
 Exs. 16-17; 19; 21-24; 27-29; 36A; 45; 60; 92-93; 317A; 326; and 890. Some files comprise more than
one exhibit because of the way defendants produced them.



                                                  6
     Case 1:04-cv-00397-GBD-RLE             Document 526          Filed 06/11/14        Page 12 of 30
                                                                REDACTED - PUBLICLY FILED VERSION



with cash payments and other benefits.10                                        the “Institute for the

Families of the Shahid Martyrs and the Wounded,” which the PLO established in 1965 and

which the PA funds and administers today. This is a major commitment for the PA; martyr

payments constitute approximately 3.5% of the PA’s entire budget for salaries. See Ex. K, p. 2.

“Martyr Files” are on the letterheads of both the PA and the Palestinian Liberation Organization

(“PLO”).

                    


                                                                              Exs. 36A,
                        60.
                    

                                                                              Ex. 17.
                    


                        Exs. 23-24, 27, 93.
                    


                                        Exs. 16, 19, 21.
                    

                                                           Exs. 22, 28-29.

                    


                        Exs. 317A and 326.

        A few examples make clear why the jury needs to see these files.                            file,

at issue in this motion, states that


10
 The history and operation of the “martyr” program is described in detail in Part Five of the Eviatar
Report (Ex. J).



                                                    7
  Case 1:04-cv-00397-GBD-RLE              Document 526          Filed 06/11/14      Page 13 of 30
                                                               REDACTED - PUBLICLY FILED VERSION




                                                                                             Exs.

36A, 60. The PA granted                                                   and

                       . Id.

                    file (also at issue in this motion) states that



                                                                          Ex. 17. The PA granted

                                        and                                             . Id..

                               martyr file (also at issue in this motion) states that




                     Ex. 23. The PA                                                      . Id. In

addition,

                                          . See Exs. 23, 93.

       Thus, the Martyr Files show that defendants

precisely because they carried out terrorist attacks in the name of performing their national

duties. Defendants have argued to the Court that the “Martyr Files” must be kept confidential.

       D.      GIS Documents

       The fourth category of exhibits at issue consists of documents that defendants produced




                                                   8
     Case 1:04-cv-00397-GBD-RLE             Document 526         Filed 06/11/14       Page 14 of 30
                                                                REDACTED - PUBLICLY FILED VERSION



from the files of the PA’s GIS.11 The vast majority of these documents

                                                                   They reflect




          For example, a GIS report concerning                   (see supra p. 3), which is at issue in

this motion, states that




                                                                               Ex. 140.

          A GIS report concerning                    (also at issue in this motion) states that




                                                                                             Ex. 153.

          A GIS report, dated February 10, 2002, to Yasser Arafat concerning Mohamed Hashaika

and Nasser Shawish, states that the two had been arrested by the PA, that Hashaika “wanted to

perpetrate a suicide operation,” for which Shawish had “recruited…[and] equipped him,” that the

two were being interrogated, and that “[t]he matter is at your Excellency’s [i.e., Arafat’s]

discretion.” Ex. 1060. (Hashaika and Shawish carried out a suicide bombing a few weeks later,

on March 21, 2002. See supra pp. 7-8)

          The GIS files show that defendants knew about the terrorist attacks described in the

documents; in some cases, that defendants knew in advance about them; and that defendants

11
     Exs. 129-43, 145-60; 162-69; 1028-34; 1037-41; and 1060.



                                                    9
     Case 1:04-cv-00397-GBD-RLE            Document 526         Filed 06/11/14      Page 15 of 30
                                                              REDACTED - PUBLICLY FILED VERSION



approved of the terrorists’ actions. Defendants have argued to the Court that the GIS documents

must be kept confidential.

        E.     “Ministry of Finance” Account Statements

        The final category of exhibits at issue consists of documents that defendants produced

from the PA’s Ministry of Finance reflecting                                Exhibits 20 and 173

demonstrate that the PA                                                                     which

was implicated in a number of the attacks. Exhibit 20 appears on the letterhead of the “Ministry

of Finance, Palestine,” and Exhibit 173 is similar in substance. Both records of payments were

produced by defendants in this litigation.

II.     THE PROPOSED TRIAL EXHIBITS ARE AUTHENTIC

        Defendants originally objected to the authenticity of 48 exhibits, even though defendants

produced the documents themselves.12 However, defendants’ March 31 letter states that

defendants are refusing to stipulate to authenticity of any of the 177 exhibits on the ground that

plaintiffs must first state “what they believe each document purports to be.” Ex. E. This

objection is absurd. Plaintiffs identified the documents by bates and exhibit number. Plaintiffs’

expert reports discuss the documents in detail. Plaintiffs even provided defendants with actual

copies of the documents, bearing exhibit numbers. Defendants’ position that they cannot

stipulate to the authenticity of their own documents shows that they are desperate to keep these

exhibits away from the jury, even as defendants continue to insist that these very same exhibits

remain “confidential.”

        Defendants’ position is meritless. When a party produces documents from its own files,

those documents are deemed authentic unless the producing party can show why they are not.

12
  Exs. 11A-C; 15; 19; 22-24; 26; 36A-E; 38; 43; 49; 60-61; 63-67; 69-72; 75-76; 83-84; 86-87; 92; 94-
96; 103; 110; 115; 117-18; 123; 128; 164; and 893-94. See DE 419, 456.



                                                  10
     Case 1:04-cv-00397-GBD-RLE             Document 526          Filed 06/11/14       Page 16 of 30
                                                                REDACTED - PUBLICLY FILED VERSION



Defendants have never attempted to make such a showing—nor could they since they created the

documents. E.g., United States Info. Sys., Inc. v. Int’l Brotherhood. of Elec. Workers Local

Union No. 3, 2006 WL 2136249, at *6 (S.D.N.Y. Aug. 1, 2006) (“The plaintiffs’ argument that

the process of discovery provides an implicit guarantee of authenticity is well-founded…. A

party producing a document is in a better position to know whether the document is authentic

than the party seeking it in discovery. It is disingenuous for the producing party to dispute the

document’s authentication without proffering some basis for questioning it.”), adhered to on

recons., 2006 WL 2556339 (S.D.N.Y. Sept. 5, 2006); Comm. Data Servers, Inc. v. Int’l Bus.

Machs. Corp., 262 F. Supp. 2d 50, 60 (S.D.N.Y. 2003) (“It is disingenuous and wasteful for [a

party] to object that its own documents are not authenticated, and thus inadmissible at trial and

on summary judgment. The appearance of these documents and the circumstances surrounding

this motion—most importantly the fact that the [producing party] is in the best position to know

if they are authentic and that they have never claimed that they are not—show that these are

authentic documents.”); John Paul Mitchell Sys. v. Quality King Distribs., Inc., 106 F. Supp. 2d

462, 472 (S.D.N.Y. 2000) (“[T]he act of production implicitly authenticated the documents.”).13

        The Court should also deem authentic the three PA-created documents that plaintiffs

located themselves. Exs. 233, 317A, 326. Defendants did not object to the authenticity of

Ex. 326 in the objections that they filed with the Court. See DE 419, 456. Exhibit 317A, which


13
   Numerous other decisions have reached the same result. See, e.g., Architectural Iron Workers Local
No. 63 Welfare Fund v. United Contractors, 46 F. Supp. 2d 769, 772 (N.D. Ill. 1999) (“The case law in
this circuit is clear: documents produced in response to discovery are self-authenticating.”); Nabisco v.
Warner-Lambert Co., 32 F. Supp. 2d 690, 695 (S.D.N.Y. 1999) (“The court finds that the documents
prepared by Nabisco and listed as exhibits by Warner-Lambert are sufficiently reliable, and thus
authentic, given that Nabisco produced most of these documents during discovery and included them on
its proposed exhibit list that is attached to the joint pre-trial order.”), aff’d sub nom. Nabisco, Inc. v.
Warner-Lambert Co., 220 F.3d 43 (2d Cir. 2000); Bieda v. JCPenney Commc’ns, Inc., 1995 WL 437689,
at *1 n.2 (S.D.N.Y. July 25, 1995) (“In addition, the mere fact that Defendants here produced most of the
documents in question is at least circumstantial, if not conclusive, evidence of authenticity.”).



                                                    11
     Case 1:04-cv-00397-GBD-RLE            Document 526          Filed 06/11/14      Page 17 of 30
                                                               REDACTED - PUBLICLY FILED VERSION



is part of the martyr file for Fawzi Murar, is authentic for four reasons. First, it is on PA

letterhead—a fact which should be conclusive. Second, defendants produced it in another

litigation. Third, it is similar to the other martyr files produced by defendants. Fourth,

defendants have pointed to no evidence that the document is inauthentic.

        Exhibit 233, a PA Preventative Security report, demonstrates that the GIS was involved

in the Wafa Idris affair and that a high-ranking GIS official, Tawfiq Tirawi, attempted to cover-

up Idris’ identity as a suicide bomber. The report is on PA Preventative Security letterhead.

Plaintiffs sought information in their interrogatories, which required the defendants to identify

the Preventative Security officers who authored the handwritten notations on the document, and

defendants provided that information, thereby confirming that the document is authentic.14

III.    THE PROPOSED TRIAL EXHIBITS ARE NOT HEARSAY

        Defendants object to all 177 exhibits on the grounds of foundation and hearsay. These

documents qualify—both on their face and based on extrinsic evidence in the record—as

statements by an opposing party under Fed. R. Evid. 801(d)(2); as business records under Fed. R.

Evid. 803(6); and as public records under Fed. R. Evid. 803(8). The documents also fall within

the residual exception to the rule against hearsay under Fed. R. Evid. 807. Any one of these four

bases will suffice to overcome defendants’ hearsay objections.

        A.      The Exhibits Are Statements Of An Opposing Party Under Rule 801(d)(2)

        Since defendants both created and produced these exhibits, they are not hearsay because

they are statements by an opposing party under Fed. R. Evid. 801(d). Rule 801(d) reads, in part:

                   (2) An Opposing Party’s Statement. The statement is offered
                against an opposing party and:


14
 See Sokolow Family Pls.’ First Set of Interrogs., dated Sept. 19, 2011 (Ex. G.2); Defs.’ Objections and
Resps. to Sokolow Family Pls.’ First Set of Interrogs., dated Oct. 24, 2011 (Ex. G.3).



                                                   12
  Case 1:04-cv-00397-GBD-RLE              Document 526        Filed 06/11/14      Page 18 of 30
                                                            REDACTED - PUBLICLY FILED VERSION



                        (A) was made by the party in an individual or
                    representative capacity;
                        (B) is one the party manifested that it adopted or believed
                    to be true;
                       (C) was made by a person whom the party authorized to
                    make a statement on the subject; [or]
                       (D) was made by the party’s agent or employee on a matter
                    within the scope of that relationship and while it existed….
A finding that a document qualifies under any subparagraph resolves the objection. The rule also

provides that “[t]he statement must be considered but does not by itself establish the declarant’s

authority under (C); [or] the existence or scope of the relationship under (D).” Id. Thus, courts

can find that a document is not hearsay under Subparts (A) and (B) based solely on a review of

the face of the document. We discuss each subpart in turn.

               1.      Subpart (A): The Exhibits Are Statements Made By Defendants In
                       A Representative Capacity

       Documents produced by defendants in response to discovery requests are, by definition,

“statements” by the defendants. Moreover, since the documents had to be prepared by

defendants’ employees or other representatives, all of the statements in them were made in a

representative capacity, as required by Subpart (A). They are therefore not hearsay.

       A number of courts have reached this result. In Hannon v. Kiwi Servs., 2011 WL

7052795, at *2 (N.D. Tex. 2011), for example, the court ruled that documents produced by the

defendant were admissible under Subpart (A): “Defendant’s responses to [plaintiff’s] requests

for production, including its written warning, tabulations of employment and compensation data

for its black and white employees, its termination notice, the email and letter from its employee

[ ], and the commission forfeit form are either admissions of a party opponent and therefore not

hearsay…or [they] fall in the “business records” exception….” E.g., Anand v. BP W. Coast

Prods. LLC, 484 F. Supp. 2d 1086, 1092, n.11 (C.D. Cal. 2007) (“[d]ocuments produced in



                                                 13
  Case 1:04-cv-00397-GBD-RLE               Document 526       Filed 06/11/14      Page 19 of 30
                                                            REDACTED - PUBLICLY FILED VERSION



response to discovery requests…are self-authenticating and constitute the admissions of a party

opponent” and referencing Fed. R. Evid. 802(d)(2)(A) as supporting authority); Architectural

Iron Workers, 47 F. Supp. 2d at 772 (whether created in an individual or representative capacity,

“the documents produced by Defendants contain Defendants’ own statements and are

admissions, not hearsay”).

               2.      Subpart (B): Defendants Adopted/Manifested Their Belief That
                       The Information Contained In The Exhibits Is True

         The exhibits are also not hearsay under Subpart (B) because, by producing the

documents, defendants adopted and/or manifested their belief as to the truth of the statements

contained in them. For purposes of this subpart, “[a]doption or acquiescence may be manifested

in any appropriate manner….The decision in each case calls for an evaluation in terms of

probable human behavior.” Advisory Committee Note to Fed. R. Evid. 801(d)(2)(B). As with

Subpart (A), there is no extrinsic evidence requirement, and a finding under this subpart alone

resolves the hearsay objection.

       As discussed above, by producing documents that were prepared by their employees,

defendants represented that they contain the information that should be contained in documents

such as martyr files, benefits records, employment records, security investigation files, and

records of payments to            Thus, defendants adopted the statements made by their employees

in the documents and manifested their belief in the truth of those statements. In an analogous

context, the courts have held that producing documents pursuant to a subpoena adopts them.

See, e.g., United States v. Hubbell, 167 F.3d 552, 567-68 (D.C. Cir. 1999) (“[T]he act of

production [of documents pursuant to a subpoena] communicates at least four different

statements. It testifies to the fact that: i) documents responsive to a given subpoena exist; ii)

they are in the possession or control of the subpoenaed party; iii) the documents provided in



                                                 14
     Case 1:04-cv-00397-GBD-RLE              Document 526           Filed 06/11/14        Page 20 of 30
                                                                  REDACTED - PUBLICLY FILED VERSION



response to the subpoena are authentic; and iv) the responding party believes that the documents

produced are those described in the subpoena.”). In addition, defendants’ demand that these

documents be accorded confidential treatment shows that they have adopted them.

        Defendants also responded to plaintiffs’ interrogatories by referencing—and thus

adopting—statements contained in certain of the exhibits.15 Accordingly, defendants cannot now

claim that those statements constitute hearsay. See Int’l Bus. Machs. Corp. v. BGC Partners,

Inc., 2013 WL 1775367, at *8 n.8 (S.D.N.Y. Apr. 25, 2013) (“If a party relies upon an opposing

party’s answers to interrogatories, the answers are admissible as statements of a party

opponent….”).

        In addition, since defendants relied on

                                         to pay approximately 6% of the PA’s budget for salaries,

they must believe that those facts are true. A similar situation arose in United States v. Ospina,

739 F.2d 448, 451 (9th Cir. 1984), in which the court held that the fact that the defendant acted

on instructions written on the documents at issue was sufficient to show that it adopted them

within the meaning of Subpart (B). And in Fed. Trade Comm’n. v. Hughes, 710 F. Supp. 1520,

1523 (N.D. Tex. 1989), the court found that defendant’s production of his financial statement

and a written description of its tax return “manifest[ed] his adoption of their truth” (referencing

Fed. R. Evid. 801(d)(2)(B)).

        Moreover, retention of documents in a party’s possession shows its adoption or belief in

the truth of the information contained therein. See, e.g., United States v. Paulino, 13 F.3d 20, 24

(1st Cir. 1994) (for adoptive admission, requiring possession of the document, as well as that the


15
  See, e.g., Trial Exs. 4, 6, 11A-C, 13 produced in response to Sokolow Family Pls.’ First Set of
Interrogs. (Ex. G.4); Trial Ex. 2, 9, 14 produced in response to Bauer Pls.’ First Set of Interrogs. (Ex.
G.5).



                                                     15
  Case 1:04-cv-00397-GBD-RLE             Document 526        Filed 06/11/14      Page 21 of 30
                                                           REDACTED - PUBLICLY FILED VERSION



“surrounding circumstances tie the possessor and the document together in some meaningful

way”); Ospina, 739 F.2d at 451 (possession of documents, and action taken pursuant to them,

was sufficient basis for finding that party had adopted documents as admissions); United States

v. Marino, 658 F.2d 1120, 1124-1125 (6th Cir. 1981) (defendant’s possession of documents

served as an adoptive admission of their contents).

       Although not produced by defendants, similar reasoning applies to the Martyr Files that

plaintiffs obtained independently—Exs. 317A and 326. Since, for the reasons discussed above,

these are authentic copies of documents created by defendants’ employees, they are necessarily

not hearsay under Subpart (B).

       This is also true for the exhibits referenced by defendants in their interrogatory responses.

In In re Japanese Electronic Prods. Antitrust Litig., 723 F.2d 238 (3d Cir. 1983), rev’d on other

grounds, Matushita Elec. Indust. Co. v. Zenith Radio Corp., 475 U.S. 574 (1986), a party

conceded that its interrogatory responses were not hearsay under Subparts (A) and (B), but

argued that the documents it referred to in those responses remained hearsay. The court rejected

this claim, stating that “they have adopted the referenced documents as answers, and the

documents are properly admissible under Rule 801(d)(2)(B).”

               3.     Subpart (C): The Exhibits Are Statements Made By Persons
                      Authorized To Make A Statement On The Subject

       Subpart (C) of Rule 801(d)(2), which provides that a statement is not hearsay if it was

“made by a party whom the party authorized to make a statement on the subject,” involves a very

similar analysis. This subpart applies to statements made by persons with “speaking authority,”

and the relevant inquiry is whether the person making the statement had the authority to speak on

behalf of the party. Penguin Books U.S.A., Inc. v. New Christian Church of Full Endeavor, Ltd.,

262 F. Supp. 2d 251, 260 (S.D.N.Y. 2003) (citing 30B Charles A. Wright & Arthur R. Miller,



                                                16
  Case 1:04-cv-00397-GBD-RLE             Document 526         Filed 06/11/14      Page 22 of 30
                                                            REDACTED - PUBLICLY FILED VERSION



Federal Practice and Procedure Evidence, § 7702 (Interim ed. 2002)). The authority may be

impliedly bestowed. Id.

       As noted above, although the documents themselves must be considered in determining

whether their drafters were authorized to write what they did, Subpart (C) also requires the Court

to look to evidence beyond the face of the document. That requirement is easily satisfied by the

act of production. Again, by seeking martyr files, benefits documents, employment records,

investigative files, and records of payments          , plaintiffs were seeking documents

containing certain kinds of information. By producing these documents, and by referring to them

in their interrogatory responses, defendants necessarily confirmed that their employees who

created the documents were authorized to do so—and thus were authorized to speak.

       Further extrinsic evidence is provided by the expert reports of Alon Eviatar (Ex. J) and

Israel Shrenzel (Ex. I), former Israeli security officials who are well versed in the defendants’

terrorist operations. The experts’ detailed description of the exhibits puts them in context and

makes it obvious that the employees who created them were authorized to make the statements

contained therein. Finally, defendants’ insistence that the documents remain confidential is

evidence that the documents contain authorized statements. Why else would defendants demand

confidential treatment?

               4.      Subpart (D): The Exhibits Contain Statements Made By The Party’s
                       Agent Or Employee On A Matter Within the Scope Of That
                       Relationship And While it Existed

       Finally, the exhibits qualify under Subpart (D), which provides that a statement is not

hearsay if it was “made by the party’s agent or employee on a matter within the scope of that

relationship and while it existed.” This rule requires a showing that (1) an agency relationship

existed; (2) the statement was made during the course of that relationship; and (3) the statement

relates to a matter within the scope of agency. Pappas v. Middle Earth Condo. Ass’n., 963 F.2d


                                                 17
  Case 1:04-cv-00397-GBD-RLE              Document 526         Filed 06/11/14      Page 23 of 30
                                                             REDACTED - PUBLICLY FILED VERSION



534, 537 (2d Cir. 1992). The declarant need not have been specifically authorized to make the

statement; all that is required is that the statement involve the subject matter of the agent’s

employment. Id. at 537-38. Moreover, “the admission into evidence of such statements is not

subject to many of the ‘technical prerequisites of other evidentiary rules’ and ‘should be granted

freely.’” Smith v. Pathmark Stores, Inc., 485 F. Supp. 2d 235, 238 (E.D.N.Y. 2007) (quoting

Pappas, 963 F.2d at 537).

       Here, again, not only the face of the exhibits themselves—including the fact that they are

official forms—but also the act of production, the Eviatar and Shrenzel reports, and defendants’

insistence on confidentiality, easily satisfy these requirements. All of these documents were

prepared by defendants’ employees whose duties were to prepare them; indeed, there is no other

way they could have been prepared. Since all of the statements were made by agents in the

scope of their duties, Subpart (D) applies.

       A number of decisions have admitted documents produced by an opposing party under

this subpart in analogous circumstances. See Equal Employment Opportunity Comm’n v. W.

Customer Mgmt. Grp., LLC, 899 F. Supp. 2d 1241, 1250 (N.D. Fla. 2012) (after finding that

defendants’ production itself authenticated the official forms, the court concluded: “The

interview notes and candidate disposition forms were written by [defendant’s] own interviewers,

who made hiring decisions on [defendant’s] behalf, and therefore, they are either business

records…or are admissible as statements of a party opponent, made by an agent within the scope

of that relationship, and are not hearsay.”); Corral v. Chicago Faucet Co., 2000 WL 628981, at

*3 (N.D. Ill. Mar. 9, 2000) (defendant’s production of a memorandum in discovery was “perhaps

enough to overcome a hearsay objection via either Fed. R. Evid. 803(6)…or Fed. R. Evid.

801(d)(2)(D)”); accord Yepez v. 44 Court St. LLC, 2014 WL 345220, at *2 (E.D.N.Y. Jan. 30,




                                                 18
  Case 1:04-cv-00397-GBD-RLE              Document 526        Filed 06/11/14      Page 24 of 30
                                                            REDACTED - PUBLICLY FILED VERSION



2014) (clothing and name tag worn by the declarant were sufficient to identify the declarant as

the defendant’s employee and agent).

       B.      Alternatively, the Exhibits Constitute Business Records And/Or Public
               Records

       Under Fed. R. Evid. 803(6), a document will not be excluded as hearsay if:

                       (A) the record was made at or near the time by—or from
                   information transmitted by—someone with knowledge;
                      (B) the record was kept in the course of a regularly
                   conducted activity of a business, organization, or calling,
                   whether or not for profit;
                       (C) making the record was a regular practice of that
                   activity;
                       (D) all these conditions are shown by the testimony of the
                   custodian or another qualified witness, or by a certification that
                   complies with Rule 902(11) or (12) or with a statute permitting
                   certification; and
                       (E) neither the source of the information nor the method or
                   circumstances of preparation indicate a lack of trustworthiness.
“The primary purpose of these requirements is to ensure that the creator of the document had ‘no

motive to falsify’ it.” JPMorgan Chase Bank, N.A. v. Yuen, 2013 WL 2473013, at *6 (S.D.N.Y.

June 3, 2013) (quoting United States v. Kaiser, 609 F.3d 556, 574 (2d Cir. 2010)). “[T]he

‘trustworthiness’ of the document is the ‘principal precondition to admissibility.’” Id. (quoting

United States v. Strother, 49 F.3d 869, 874 (2d Cir. 1995)); see Phoenix Assocs. III v. Stone, 60

F.3d 95, 101 (2d Cir. 1995). Thus, “[t]he Court of Appeals has adopted a ‘generous view’ of

Rule 803(6), ‘construing it to favor the admission of evidence if it has any probative value at

all.’” Id. (quoting Strother, 49 F.3d at 874).

       These exhibits are textbook examples of “business records” under Rule 803(6). They are

on official forms that bear the letterhead of various PA/PLO government agencies and could only

have been prepared by defendants’ employees in the regular course of their duties. Defendants




                                                 19
  Case 1:04-cv-00397-GBD-RLE              Document 526        Filed 06/11/14        Page 25 of 30
                                                            REDACTED - PUBLICLY FILED VERSION



cannot credibly contend otherwise. In addition, the large number of documents, and the

similarities in form between them, shows that it was defendants’ regular practice to prepare such

documents. Nor, for the reasons discussed above, is there any reason to question their

trustworthiness.

       Courts have held that the act of producing similar documents in discovery is sufficient to

satisfy Rule 803(6). See, e.g., John Paul Mitchell Sys., 106 F. Supp. 2d at 472 (“[The documents

are admissible as business records of [the company] or, in the alternative, pursuant to the residual

hearsay exception. [ ] The act of production indicates [defendant’s] belief that the documents

record the shipment of the Paul Mitchell products to Europe and that the documents were

maintained in the ordinary course of [the company’s] business.”) (citation omitted); accord

Hannon, 2011 WL 7052795, at *2; Corral, 2000 WL 628981, at *3.

       These documents also qualify for the public records exception to the hearsay rule under

Fed. R. Evid. 803(8), since many of them pertain to PA/PLO obligations pursuant to statute



         (see Ex. J, Eviatar Report, Parts IV-V). A document is a public record if:

                       (A) it sets out:
                          (i) the office’s activities;
                          (ii) a matter observed while under a legal duty to
                       report…; or
                          (iii) in a civil case…, factual findings from a legally
                       authorized investigation; and
                       (B) neither the source of information nor other
                   circumstances indicate a lack of trustworthiness.
       As noted, the vast majority of these documents are official government forms that are

filled out by PA employees for the purpose of fulfilling their statutory obligations. Nor is there

any reason to doubt the trustworthiness of these documents—which were produced by




                                                 20
  Case 1:04-cv-00397-GBD-RLE              Document 526         Filed 06/11/14       Page 26 of 30
                                                             REDACTED - PUBLICLY FILED VERSION



defendants from their own files. In similar circumstances, courts have held that government

forms are public records. See, e.g., Davis v. City of New York, 959 F. Supp. 2d 324, 352

(S.D.N.Y. 2013) (“Based on the record at this stage, I am inclined to allow the admission of the

decline to prosecute forms in this case…, based either on the public records exception under

Federal Rule of Evidence 803(8)(A)(iii), or on the residual hearsay exception under Rule 807.”)

(footnotes omitted), further consideration of ruling after briefing, 959 F. Supp. 2d 427, 430-31

(S.D.N.Y. 2013) (finding the “DP” forms admissible subject to certain limitations based on the

facts of the case); Murphy v. Metro. Transp. Auth., 2009 WL 1044604, at *1-3 (S.D.N.Y. Apr.

14, 2009) (finding that the following documents, among others, were properly admissible under

Fed. R. Evid. 803(8): incident reports; Internal Affairs files; IAB Custody Injury forms; IAB

files; and records setting forth plaintiff’s earnings, overtime, attendance, and personnel records);

Fed. Trade Comm’n v. Med. Billers Network, Inc., 543 F. Supp. 2d 283, 305 n.25 (S.D.N.Y.

2008) (finding public records exception applied based on face of document alone).

       C.      Alternatively, the Exhibits Qualify Under The Residual Hearsay Exception

       Rule 807 provides, in part:

                      (a) In General. Under the following circumstances, a
                   hearsay statement is not excluded by the rule against hearsay
                   even if the statement is not specifically covered by a hearsay
                   exception in Rule 803 or 804:
                          (1) the statement has equivalent circumstantial
                       guarantees of trustworthiness;
                           (2) it is offered as evidence of a material fact;
                           (3) it is more probative on the point for which it is
                       offered than any other evidence that the proponent can
                       obtain through reasonable efforts; and
                           (4) admitting it will best serve the purposes of these
                       rules and the interests of justice.
       These requirements are met here. First, there is no reason to question the trustworthiness




                                                 21
  Case 1:04-cv-00397-GBD-RLE             Document 526         Filed 06/11/14      Page 27 of 30
                                                            REDACTED - PUBLICLY FILED VERSION



of these official government documents, which were all prepared by defendants’ employees in

the course of their regular duties.

       Second, they are all offered as evidence of material facts: that the attacks in this case

were performed by defendants’ security employees, that defendants supported and ratified their

employees’ actions by

                                 , that the GIS was well aware of the activities of many of these

individuals and their plans and not only failed to stop them, but also determined that they were of

                        and that the PA provided financial support to        which was implicated

in a number of the attacks at issue.

       Third, there is no evidence more probative than the exhibits with respect to these facts.

Nothing could be more probative of

                                                                                            .

Indeed, it is difficult to conceive of any other evidence plaintiffs could obtain, much less obtain

with reasonable effort, to                      . Similarly, defendants’ employment records are

the best way to show that the perpetrators were government security employees.

       Fourth, since these exhibits are, at the very least, the kinds of documents that should not

be excluded under other hearsay exceptions, admitting them under Rule 807 serves the purposes

of the hearsay rules. In addition, given the overriding public policy behind the ATA to

compensate the victims of terrorism, admitting these documents serves the interest of justice.

        Judge Stein reached a similar result in John Paul Mitchell Sys., 106 F. Supp. 2d at 472.

Although he admitted documents produced by the opposing party as business records, he found

that they were also admissible pursuant to the residual hearsay exception: “The act of production

indicates [defendant’s] belief that the documents record the shipment of the Paul Mitchell




                                                 22
  Case 1:04-cv-00397-GBD-RLE              Document 526         Filed 06/11/14      Page 28 of 30
                                                             REDACTED - PUBLICLY FILED VERSION



products to Europe and that the documents were maintained in the ordinary course of [the

company’s] business.”). In addition, he found that the documents were sufficiently reliable

because of (1) the appearance of the documents; and (2) the fact that the defendant produced the

requested documents “against [its] interest in the litigation.” Id. at 473.

       D.      Defendants’ Contention That Portions Of Some Of The Documents Were
               Produced By Third Parties Is Unavailing

       Defendants’ response to plaintiffs’ letter asserted that they could not stipulate to

foundation because “some of the documents appear on their face to have been created by third

parties.” This claim is a red herring. There are such documents in the martyr files and other

                 . They were obviously collected by defendants to confirm that

            . For example, the files contain documents such as




                               .

       Plaintiffs have not asked defendants to stipulate to the truth of the matter asserted in these

documents, and, in any event, most of these are offered simply to show that defendants were

being careful to ensure that                                                               .

Nothing in these documents has any effect on the fact that the official government forms may not

be excluded as hearsay.

       Similarly, since defendants have effectively conceded that all of the documents came

from their files, there is no issue regarding authenticity for third-party materials. The point of

these documents is that defendants collected them in order to

        .




                                                 23
  Case 1:04-cv-00397-GBD-RLE              Document 526          Filed 06/11/14    Page 29 of 30
                                                               REDACTED - PUBLICLY FILED VERSION




IV.    IN THE ALTERNATIVE, THIS COURT SHOULD ESTABLISH A PROCEDURE
       TO DETERMINE THE ADMISSIBILITY OF THE EXHIBITS BEFORE TRIAL

       Under Rule 104, questions of foundation and authenticity are for the Court. In its March

25, 2014, Order, the Court stated: “A reasonable process for determining the admissibility of all

trial exhibits will be available prior to trial.” DE 447, Ex. M. For the reasons discussed above, it

is unnecessary to create such a process because, based on the undisputed facts, all of the exhibits

at issue are authentic and are not hearsay.

       In Klieman v. Palestinian Authority, as here, the Court did not extend discovery to permit

Rule 30(b)(6) depositions to authenticate and lay the foundation for documents produced by the

defendants. However, the Court ordered the PA and the PLO to show why the documents should

not be admitted:

               I am not going to permit the defendants to play dog in the manger
               and object to the authenticity or hearsay nature of these documents
               while denying plaintiffs the means of overcoming those objections
               through discovery. Thus, I will deem the documents…to be
               authentic and admissible unless defendants show cause within ten
               days why they are not.

Id., Civil Action No. 04-1173 (PLF) (JMF) (D.D.C. Feb. 11, 2013), DE No. 190, p.7 (Ex. N).

       As in Klieman, if defendants actually have specific facts with which to dispute the

authenticity or foundation of any of these exhibits, they should be put to their proof now, well in

advance of trial. If defendants make a plausible showing that there is a dispute with respect to

specific documents, the Court should require them to produce a witness at a pretrial hearing to

support their claim.

                                          CONCLUSION

       This Court should rule that the 177 proposed trial exhibits are authentic and not hearsay.

In the alternative, this Court should establish a process by which plaintiffs can establish that

these exhibits are authentic and not hearsay prior to trial.


                                                  24
Case 1:04-cv-00397-GBD-RLE   Document 526    Filed 06/11/14   Page 30 of 30
                                            REDACTED - PUBLICLY FILED VERSION
